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10
                            IN THE UNITED STATES DISTRICT COURT
11                             EASTERN DISTRICT OF CALIFORNIA
12

13
     UNITEDS STATES OF AMERICA,                     )   CASE NO. 1:16-CR-00127 DAD
14                                                  )   STIPULATION AND PROPOSED ORDER
                                                    )   TO CONTINUE HEARING ON
                                 Plaintiff,         )   MOTIONS
15
                                                    )
16                    v.                            )
                                                    )
17   ABDULLAH ALMASHWALI,                           )
                                                    )
18                                                  )
                                Defendant.          )
19                                                  )

20   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE
21
     BARBARA McAULIFFE AND GRANT RABENN, ASSISTANT UNITED STATES
     ATTORNEY:
22

23          COMES NOW Defendant, ABDULLAH ALMASHWALI, by and through his
24
     attorneys of record, Virna L. Santos and Dean Steward, hereby requesting that the hearing on
25
     defendant’s Motion for Bill of Particulars and Motion for Discovery currently set for March 6,
26

27   2017 be continued to March 13, 2017 at 3:00 p.m. It is further requested that Attorney

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1    Santos be permitted to appear by phone at said hearing, as she will be out of the district on a
2
     work-related matter.
3
            This request is premised on defense counsel’s unavailability on the currently set
4

5
     hearing date. AUSA Grant Rabenn has no objection to the requested continuance.

6    The parties also agree that the delays resulting from the continuance shall be excluded in the
7    interest of justice pursuant to 18 USC 3161 (h)(7)(A) and 3161 (h)(7)(B)(1).
8

9    IS SO STIPULATED.
10
                                                           Respectfully Submitted,
11
     DATED: February 22, 2017                              /s/________________________
12                                                         VIRNA L. SANTOS
                                                           Attorney for Defendant
13                                                         ABDULLAH ALMASHWALI
14
                                                           /s/________________________
15                                                         H. DEAN STEWARD
                                                           Attorney for Defendant
16                                                         ABDULLAH ALMASHWALI
17

18   DATED: February 22, 2017                              /s/________________________
                                                           GRANT RABENN
19                                                         Assistant U.S. Attorney
20   ////
21   ////
22   ////
23   ////
24   ////
25   ////
26   ////
27   ////
28   ////
           Case 1:16-cr-00127-DAD-BAM Document 73 Filed 02/22/17 Page 3 of 3


1                                                ORDER
2
                           The motions (Docs. 48 and 68) hearing currently set for March 6, 2017
3
     is hereby continued to March 13, 2017 at 3:00 p.m. It is further ordered that Attorney Santos
4

5
     may appear by phone by using the following dial-in number and passcode:

6    dial-in number 1-877-411-9748; passcode 3190866.
7                          "Counsel are directed to meet and confer on the motion. Counsel
8
     are directed to inform the Court, by email to Courtroom Deputy Harriet Herman, no
9
     later than 2:00 p.m. on March 7, 2017 whether any issues remain for the Court’s decision
10

11   and if so, which specific items remain at issue."

12                         Time is excluded pursuant to 18 USC 3161 (h)(7)(A) and 3161
     (h)(7)(B)(1).
13

14   IT IS SO ORDERED.

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16   Dated:   February 22, 2017                           /s/ Barbara A. McAuliffe
                                                  UNITED STATES MAGISTRATE JUDGE
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